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   16                       UNITED STATES DISTRICT COURT
   17                      CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
   18
   19   TREVOR BAUER,                            Case No. 8:22-cv-00868-JVS-ADS
                           Plaintiff,            [Assigned to Hon. James V. Selna
   20                                            Referred to Magistrate Judge Autumn D.
   21         v.                                 Spaeth]

   22   LINDSEY C. HILL and NIRANJAN DISCOVERY MATTER: PLAINTIFF
        FRED THIAGARAJAH,            AND COUNTERCLAIM DEFENDANT
   23                                TREVOR BAUER’S OPPOSITION TO
                       Defendants.   MOTION FOR RECONSIDERATION
   24                                TO COMPEL RESPONSES TO
                                     REQUEST FOR PRODUCTION NO. 93
   25
                                                 [Declaration of Blair G. Brown filed
   26                                            concurrently]
   27
   28
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    1                                         Hearing Date: October 11, 2023
                                              Time: 10:00 a.m.
    2
                                              Courtroom: 6B
    3                                         Action Filed: April 25, 2022
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    1 I.      INTRODUCTION
    2         The Court should deny Defendant Lindsey Hill’s motion for reconsideration
    3 regarding the production of Doe’s arbitration materials because it is premature. Hill
    4 is currently in the process of compelling Doe’s deposition in the Southern District of
    5 Ohio, as she has filed a motion to hold Doe in contempt unless she complies with the
    6 deposition subpoena. Judge Selna recently overruled all objections to Doe’s
    7 deposition and held that it will proceed. As a result, there is no need to reconsider the
    8 Court’s prior ruling regarding Doe’s arbitration materials.
    9         Although Hill asserts that she “is left with no alternative means of relief” absent
   10 production of Doe’s arbitration materials, she is mistaken. As this Court recognized
   11 in its June 28 order denying Hill’s motion to compel responses to Request No. 93,
   12 production of Doe’s arbitration transcript and exhibits is not warranted if Doe will be
   13 deposed. And here, Hill is taking multiple steps to obtain that deposition. She has
   14 opened a miscellaneous matter in the Southern District of Ohio for the purpose of
   15 compelling Doe’s deposition. She first unsuccessfully moved to seal Doe’s name in
   16 that court. Hill then filed an ex parte application before Judge Selna to disclose Doe’s
   17 name in Hill’s Ohio filings. Judge Selna held the ex parte application in abeyance and
   18 told Hill’s counsel to refile in Ohio and “advise the Court what the result is” of her
   19 motion in Ohio. Judge Selna further stated that he would “grant whatever relief is
   20 necessary in terms of the discovery cutoff date” for Doe’s deposition to proceed. On
   21 September 19, 2023, Hill filed a motion for contempt against Doe in the Southern
   22 District of Ohio, in which Hill sought “to hold [Doe] in contempt of this Court until
   23 she complies with the Subpoena.” Because Hill is in the process of obtaining Doe’s
   24 deposition, there is no basis to reconsider the Court’s June 28, 2023 order regarding
   25 Doe’s arbitration transcript and exhibits.
   26
   27
   28

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    1 II.     BACKGROUND
    2         A.    The Court’s Order Regarding Doe’s Arbitration Transcript And
                    Exhibits.
    3
    4         Hill’s Request for Production No. 93 stated:
    5               Produce all DOCUMENTS from the Major League
                    Baseball arbitration proceeding concerning YOUR
    6               suspension from Major League Baseball, including without
    7               limitation, all pleadings, briefs, statements, interviews,
                    transcripts, DOCUMENTS exchanged in that proceeding,
    8               and DOCUMENTS produced through discovery in that
    9               proceeding.
   10         After Bauer objected to that request, Hill filed a motion to compel. Dkt. 102.
   11 On June 28, 2023, the Court denied Hill’s motion to compel a response to Request
   12 No. 93. The Court found that Request No. 93 “is largely overbroad, and . . . that Ms.
   13 Hill has not met her burden of establishing that the requested information is
   14 proportional in this case.” Declaration of Blair G. Brown Ex. A, Tr. 52:13–16. The
   15 Court further explained that the “ruling might be different if we find out that the
   16 depositions don’t occur.” Id., Tr. 52:18–19.
   17         Counsel for Hill then asked whether the ruling was “with or without prejudice
   18 to propounding, I guess, new discovery that’s more focused on certain documents
   19 from the arbitration, such as . . . transcripts.” Id., Tr. 53:1–4. The Court stated that
   20 “[i]f your discovery cutoff has not passed, you are free to serve any discovery that
   21 you think is appropriate, and then we can take up any arguments that may be
   22 appropriate, but this request as written, I’m denying the motion to compel.” Id., Tr.
   23 53:9–13. Hill did not serve any narrower discovery requests regarding the arbitration
   24 materials or Doe.
   25         B.    Hill Is Currently Pursuing Doe’s Deposition.
   26         As her motion for reconsideration concedes, Hill is actively in the process of
   27 obtaining Doe’s deposition. Mot. for Recons. 5 (“Hill had already begun the process
   28 of filing a Motion for Contempt in Doe’s home.”).
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    1         On June 28, 2023, the Court allowed Hill to take the deposition of Doe. Hill
    2 then waited more than two weeks to serve an amended deposition notice on Doe
    3 following the Court’s June 28 order. See Dkt. 190-1, Ex. B (amended notice dated
    4 July 14, 2023). Hill noticed the deposition for August 17, 2023—more than a month
    5 after the date of her amended subpoena to Doe. See id. Doe did not appear at the
    6 deposition on August 17, 2023. Dkt. 190-1 ¶ 11.
    7         On August 25, 2023, Hill filed a “motion for leave to file motion and exhibits
    8 under seal” in the Southern District of Ohio, where Doe resides. Dkt. 190-2, Ex. B.
    9 Hill’s motion sought leave to seal a forthcoming motion for contempt to compel Doe’s
   10 deposition. Because Hill offered no evidentiary support for the motion to seal, the
   11 Southern District of Ohio denied the motion on August 28, 2023, but without
   12 prejudice. Dkt. 190-2, Ex. C. In denying the motion, the Southern District of Ohio
   13 held that Hill “failed to ‘analyze in detail, document by document, the propriety of
   14 secrecy, providing reasons and legal citations’” and her “conclusory statement
   15 prevents this Court from making any findings or conclusions which could justify
   16 preventing public access to the record.” Id. at 2. The Southern District of Ohio court
   17 stated that Hill could refile her motion to seal with proper support.
   18         Despite the court’s invitation for Hill to refile her motion to seal with proper
   19 support, Hill instead filed, on September 6, 2023, an ex parte application before Judge
   20 Selna seeking leave to reveal Doe’s name in the forthcoming motion for contempt in
   21 the Southern District of Ohio. She sought “an order allowing her to file the Motion
   22 for Contempt in an unredacted form . . . and for a brief extension of the discovery
   23 cutoff to allow for the deposition of Doe to move forward once the Motion for
   24 Contempt is granted.” Dkt. 180 at 2.
   25         In that application, Hill stressed the need for Doe’s deposition. Absent that
   26 relief, Hill asserted before Judge Selna that she would “be denied her sole avenue to
   27 obtain critical information regarding the sexual battery suffered at the hands of Bauer
   28 by Doe.” Dkt. 180 at 6; id. at 8 (“the sole avenue for the critical testimony and
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    1 documents sought by the deposition subpoenas issued to Doe is Doe herself”); id. at
    2 12 (“absent an order granting the relief sought by this ex parte application, Hill will
    3 be denied her sole means of obtaining critical and highly relevant information
    4 concerning Bauer and Doe”). Hill emphasized that she “has no avenue to obtain the
    5 information regarding Bauer’s assault of Doe besides Doe herself.” Id. at 11
    6 (emphasis added). In her ex parte application, Hill never mentioned the option of
    7 obtaining Doe’s arbitration transcript or exhibits as an alternative “avenue to obtain
    8 critical information” regarding Doe.
    9         On September 11, 2023, Judge Selna held a hearing on the ex parte application.
   10 He overruled all objections to Doe’s deposition, stating “I’m going to allow that
   11 deposition to go forward.” Brown Decl. Ex. B, Tr. 3:24–25. He then “suggest[ed] for
   12 the short run, Ms. Hill reapply to the foreign court and/or file an application to transfer
   13 the motion to compel here.” Id., Tr. 4:13–15. Counsel for Hill responded “[w]e will
   14 do you as you recommended.” Id., Tr. 4:18. Judge Selna stated “[s]o Ms. Prescott,
   15 you want to go forward on one or both of those fronts and advise the Court what the
   16 result is? And we’ll schedule another telephone conference call once you’ve done
   17 that. In the meantime, I’m just going to hold the application in abeyance.” Id., Tr. 5:7–
   18 11. Judge Selna also held that he would “grant whatever relief is necessary in terms
   19 of the discovery cutoff date” to accommodate Doe’s deposition. Id., Tr. 5:4–5.
   20         On September 19, 2023, Hill filed a motion for contempt against Doe in the
   21 Southern District of Ohio. She argued that the court should “hold [Doe] in contempt
   22 of this Court until she complies with the Subpoena.” Brown Decl. Ex. C., at 2. Hill
   23 further “requested that if [Doe] fails to purge herself of this contempt within 30 days
   24 of the Court’s Order finding her in contempt, that she then be assessed Hill’s costs
   25 and fees incurred by reason of her contemptuous conduct as to be set forth in a
   26 supplemental filing.” Id. Hill also moved, “in the alternative,” for her motion to “be
   27 transferred to the District Court for the Central District of California for adjudication
   28 pursuant to Fed. R. Civ. P. 45(f).” Id. at 5. She explained that “Judge James V. Selna
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    1 and Magistrate Judge Autumn Spaeth of the District Court for the Central District of
    2 California are intimately familiar with the issues relating to the subpoena.” Id. at 3.
    3 III.    THE COURT SHOULD DENY THE MOTION FOR
              RECONSIDERATION
    4
    5         A.    The Motion For Reconsideration Is Premature.
    6         Hill’s motion for reconsideration is premature because all indications are that
    7 Doe’s deposition will proceed. This Court denied Hill’s motion to compel on Request
    8 No. 93 because it was overbroad, and suggested a potential reconsideration of that
    9 decision only if the depositions did not occur. Because the deposition of Doe will very
   10 likely take place, the Court should not reconsider its ruling.
   11         Hill all but ignores the fact that she is taking multiple steps to obtain Doe’s
   12 deposition. She repeatedly asserts that reconsideration of this Court’s June 28 order
   13 is necessary because she is “left with no alternative means of relief.” Mot. for Recons.
   14 5 (“Hill was left with no choice but to file this Motion asking the Court to reconsider
   15 its prior ruling on Request for Production No. 93”); see also id. at 12 (“Hill is now
   16 left with no alternative means to obtain this information beyond bringing a Motion
   17 for Reconsideration”). That is wrong.
   18         Doe’s deposition is the “alternative means of relief.” Hill admits that she has
   19 “already begun the process of filing a Motion for Contempt in Doe’s home.” Mot. for
   20 Recons. at 5; id. at 10 (“Hill is continuing to attempt to compel the deposition of Doe
   21 . . . .”). She has secured local counsel in the Southern District of Ohio for the purpose
   22 of filing that motion. She has opened a miscellaneous matter in that court to compel
   23 Doe’s deposition. Judge Selna has held that Doe’s deposition will “go forward” and
   24 that he would extend deadlines as necessary for Doe’s deposition. Brown Decl. Ex.
   25 B. And, on September 19, Hill filed a motion seeking to hold Doe in contempt “until
   26 she complies with the Subpoena.” Id., Ex. C, at 2. Judge Selna instructed Hill’s
   27 counsel to “advise the Court what the result” of her revised motion is, after which
   28 Judge Selna intends to hold a telephonic conference. Id., Ex. B, Tr. 5:8–9. All signs
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    1 point to Doe’s deposition proceeding.
    2         Hill also emphasized in her ex parte filing that she needed Doe’s deposition and
    3 made no mention of Doe’s arbitration transcripts and exhibits. Hill argued to Judge
    4 Selna that “absent an order granting the relief sought by this ex parte application [to
    5 reveal Doe’s name], Hill will be denied her sole means of obtaining critical and highly
    6 relevant information concerning Bauer and Doe.” Dkt. 180 at 12 (emphasis added);
    7 id. at 6 (asserting that Doe’s deposition is the “sole avenue to obtain critical
    8 information regarding the sexual battery suffered at the hands of Bauer by Doe”
    9 (emphasis added)).
   10         Before this Court, Hill no longer claims that Doe’s deposition is the “sole
   11 avenue” to obtain the information Hill seeks. Instead, Hill takes a different position—
   12 that Doe’s arbitration transcripts and exhibits (not Doe’s deposition) are Hill’s “sole
   13 avenue” for relief. Hill cannot have her cake and eat it too. She cannot simultaneously
   14 claim before Judge Selna that Doe’s deposition is Hill’s “sole avenue” to obtain
   15 information regarding Doe, while arguing to this Court that Doe’s arbitration
   16 testimony and exhibits are the “sole avenue” to obtain the same information.
   17         Hill’s filings in the Southern District of Ohio, her ex parte application before
   18 Judge Selna, her representations in the hearing before Judge Selna, and Judge Selna’s
   19 ruling all show that Doe’s deposition is very likely to occur. Accordingly, there is no
   20 reason for the Court to reconsider its prior order denying the motion to compel
   21 responses to Request for Production No. 93.
   22         B.    Hill’s Representations Show She Does Not Need Doe’s Arbitration
                    Transcripts And Exhibits.
   23
   24         In addition to being premature, Hill’s motion for reconsideration fails because
   25 she does not need Doe’s arbitration transcripts or exhibits. Hill has claimed that “the
   26 sole avenue for the critical testimony and documents sought by the deposition
   27 subpoenas issued to Doe is Doe herself.” Dkt. 180 at 8; see also id. at 12 (arguing that
   28 without Doe’s deposition “Hill will be denied her sole means of obtaining critical and
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  1 highly relevant information concerning Bauer and Doe” (emphasis added)). She has
  2 represented to Judge Selna that if Hill is unable to obtain Doe’s deposition then she
  3 “will be unable to obtain the information.” Id. at 8. Those representations before Judge
  4 Selna show that Hill does not need Doe’s arbitration documents. According to Hill,
  5 the only avenue to obtain the information is from Doe through a deposition—not
  6 through her arbitration testimony—and therefore Hill should be held to her
  7 representations. Furthermore, Hill never served any updated or narrowed discovery
  8 requests regarding Doe’s arbitration transcripts or exhibits following the Court’s
  9 ruling that Request No. 93 was overbroad. The Court should adhere to its prior ruling
 10 denying Hill’s motion to compel responses to her overbroad Request for Production
 11 No. 93.
 12 IV.    CONCLUSION
 13        The Court should deny Hill’s Motion for Reconsideration.
 14   Dated:       September 20, 2023          /s/ Blair G. Brown
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